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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------X
TECKU, et al.,                   :                                1/28/2021
                                 :
                  Plaintiffs,    :
                                 :               20 Civ. 7327(VM)
          -against-              :                  ORDER
                                 :
YIELDSTREET, INC., et al.,       :
                                 :
                  Defendants.    :
---------------------------------X
VICTOR MARRERO, U.S.D.J.:

     On January 8, 2021, Defendants filed a letter motion
requesting permission to file a motion to dismiss in this
matter. (See Dkt. No. 23.) After reviewing the submission,
including   the   parties’   correspondence,     the      Court   is   not
persuaded such a motion is necessary. Instead, Plaintiffs are
directed to respond to the arguments raised in Defendants’
January 8th submission by February 5, 2021, in a letter-brief
not to exceed three pages. Defendants may reply to this letter
in a similar three-page letter-brief, and attach any relevant
documents this Court can properly consider on a motion to
dismiss, by February 12, 2021. The court may treat the
parties’    pre-motion   letters   as   a   motion   to    dismiss. See
Kapitalforeningen Lægernes Invest. v. United Techs. Corp.,
779 F. App’x 69, 70 (2d Cir. 2019) (affirming the district
court ruling deeming an exchange of letters as a motion to
dismiss).
SO ORDERED:

Dated:      New York, New York
            28 January 2021
